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  From: Sanders, Gabriella gsanders@nsf.gov
Subject: NSF FOIA Request Case Number 2023-159F
   Date: May 9, 2023 at 1:49 PM
     To: AFL FOIA foia@aflegal.org
    Cc: NSF FOIA foia@nsf.gov


      NSF FOIA Request Case Number 2023-159F

      Dear Jacob Meckler,

      Your Freedom of Information Act (FOIA) request has been received and logged as FOIA 2023-
      159F. Please reference this number in all communications regarding this request.

      Effective September 30, 2013, the National Science Foundation (NSF) instituted a multi-track
      system (Simple and Complex) for processing of FOIA requests. Your request has been placed in the
      Complex Track based on the amount of work and/or time needed to process the request.

      The estimated response date to your request is June 5, 2023.

      If your request is for copies of funded grant proposals, you may wish to contact the Principal
      Investigators (PI) directly as we find that most PIs are happy to share their work – though they are
      not required to do so.

      Please be aware that if you are requesting copies of NSF funded grant proposals, under Executive
      Order 12,600 we are required to notify the submitter (Principal Investigator) of the request for
      records to allow for their review of any confidential/proprietary business information that may be
      contained in the funded grant. There is no secrecy afforded to FOIA requesters and your name and
      affiliation is provided to the submitter/Principal Investigators. We are permitted to allow a
      reasonable amount of time for the submitters’ review. Your request is also forwarded to the submitter
      (any personal identifiers such as home addresses/home email addresses will be removed).

      To speed the processing of your request we will only review and process for release to you the
      following grant documents: cover page, project summary, project description, and references
      page(s). If you require the entire proposal, please provide this guidance by return email.

      Information pertaining to the FOIA and the NSF’s policies concerning records requests is available
      on the NSF web site https://www.nsf.gov/policies/foia.jsp.
      If you have any additional questions about your request, please contact Sandra Evans at 703-292-5065 or by email at sevans@nsf.gov, or Angela Nelson
      at 703-292-4289 or by email at anelson@nsf.gov.




      Regards,

      Gabriella Sanders
      Student Trainee – Admin Support Assistant
      Office of General Counsel
      National Science Foundation
      2415 Eisenhower Ave
      Alexandria, VA 22314
      (703).292.8114
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From: AFL FOIA <foia@aflegal.org>
Sent: Tuesday, May 9, 2023 12:38 PM
To: NSF FOIA <foia@nsf.gov>
Subject: [EXTERNAL] - Freedom of Information Act Request

   This email originated from outside of the National Science Foundation. Do not click links or open attachments unless
   you recognize the sender and know the content is safe.



Good afternoon,

Please see attached a new Freedom of Information Act request.

Thank you,
America First Legal Foundation
